






MEMORANDUM OPINION

No. 04-06-00217-CR

Gregorio Galan, Jr.,

Appellant

v.

The STATE of Texas ,

Appellee

From the 144th Judicial District Court, Bexar County, Texas

Trial Court No. 2005-CR-1697

Honorable Mark Luitjen , Judge Presiding



PER CURIAM



Sitting: Alma L. López, Chief Justice

  Catherine Stone , Justice

  Rebecca Simmons , Justice



Delivered and Filed: June 14, 2006 



DISMISSED

 The trial court's certification in this appeal states that this case "is a plea-bargain case, and the defendant has NO right of
appeal."  Rule 25.2(d) of the Texas Rules of Appellate Procedure provides, "[t]he appeal must be dismissed if a certification
that shows the defendant has a right of appeal has not been made part of the record under these rules."  Tex. R. App. P.
25.2(d).  On May 2, 2006, we ordered that this appeal would be dismissed pursuant to Rule 25.2(d) unless appellant filed an
amended trial court certification showing that he had the right of appeal by June 1, 2006. See Tex. R. App. P. 25.2(d); 37.1;
see also Daniels v. State, 110 S.W.3d 174, 177 (Tex. App.--San Antonio 2003, no pet.).  No such amended trial court
certification has been filed.  Therefore, Rule 25.2(d) requires this court to dismiss this appeal.  Accordingly, this appeal is dismissed.



       PER CURIAM

Do Not Publish



































 






















